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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR06-106-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   FELIPE B. MARAMBA,                   )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on June 25, 2008. The United States was represented by AUSA Jill Otake and the defendant

16 by Anna M. Tolin. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about July 13, 2007 by the Honorable Ricardo S.

18 Martinez on a charge of Conspiracy to Commit Bank Fraud, and sentenced to 21 months custody,

19 5 years supervised release. (Dkt. 286.)

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in a substance abuse program, abstain from alcohol, submit to search,

22 pay restitution in the amount of $73,592.13, provide financial information to his probation officer

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 as requested, maintain a single checking account for all financial transactions, disclose all business

02 interests, disclose all assets and liabilities, be prohibited from obtaining any new credit without

03 approval, not be self-employed or employed by friends or relatives without approval, get approval

04 for all employment, not work for cash and not possess any identification documents in any but

05 defendant’s true identity.

06          On March 28, 2008, defendant admitted violating the conditions of supervised release by

07 using methamphetamine, failing to submit to drug testing, and failing to report a change in

08 residence. (Dkt. 314.) Defendant was sentenced to time served and placed in a residential reentry

09 program for up to 120 days. (Dkt. 315.)

10          In an application dated May 19, 2008 (Dkt.316), U.S. Probation Officer Joe G. Mendez

11 alleged the following violation of the conditions of supervised release:

12          1.      Failing to successfully participate in a Residential Reentry Center program for up

13 to 120 days by being terminated on or about May 16, 2008 in violation of a special condition.

14          Defendant was advised in full as to the charge and as to his constitutional rights.

15          Defendant admitted the alleged violation and waived any evidentiary hearing as to whether

16 it occurred. (Dkt. 322.)

17          I therefore recommend the Court find defendant violated his supervised release as alleged,

18 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

19 set before Judge Martinez.

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01         Pending a final determination by the Court, defendant has been released on the conditions

02 of supervision.

03         DATED this 25th day of June, 2008.



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05                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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08 cc:     District Judge:               Honorable Ricardo S. Martinez
           AUSA:                         Jill Otake
09         Defendant’s attorney:         Anna M. Tolin
           Probation officer:            Joe G. Mendez
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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